Case 2:20-cv-09909-MWF-AFM Document 18 Filed 12/22/20 Page 1 of 2 Page ID #:65


      Joseph R. Manning, Jr. (SBN 223381)
  1   DisabilityRights@manninglawoffice.com
  2   MANNING LAW, APC
      20062 SW Birch Street
  3   Newport Beach, CA 92660
      Tel: 949.200.8755
  4   Fax: 866.843.8308

  5   Attorneys for Plaintiff
      CARMEN JOHN PERRI
  6
  7
                           UNITED STATES DISTRICT COURT
  8
                          CENTRAL DISTRICT OF CALIFORNIA
  9
 10
 11     CARMEN JOHN PERRI, an              Case No.: 2:20-cv-09909-MWF-AFM
 12     individual,
                                           Hon. Michael W. Fitzgerald
 13
        Plaintiff,
 14                                        NOTICE OF VOLUNTARY
        v.                                 DISMISSAL WITHOUT PREJUDICE
 15
                                           PURSUANT TO FEDERAL RULE OF
 16     CASH-PRO MANAGEMENT,               CIVIL PROCEDURE 41(a)(1)(A)(i)
        INC., a California corporation;
 17
        WESTWOOD CENTER, LLC, a            Complaint Filed: October 28, 2020
 18     California limited liability       Trial Date: None
        company; and DOES 1-10,
 19
        inclusive,
 20
        Defendants.
 21
 22
 23
 24
 25
 26
 27
 28
                     NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
Case 2:20-cv-09909-MWF-AFM Document 18 Filed 12/22/20 Page 2 of 2 Page ID #:66

  1         TO THE COURT AND ALL PARTIES:
  2         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
  3   Plaintiff Carmen John Perri (“Plaintiff”) requests that this Court enter a dismissal
  4   without prejudice of Plaintiff’s Complaint in the above-entitled action, in its
  5   entirety. Each party shall bear his or its own costs and attorneys’ expenses.
  6
  7                                         Respectfully submitted,
  8
  9     DATED : December 22, 2020           MANNING LAW, APC

 10                                         By: /s/ Joseph R. Manning, Jr.
                                              Joseph R. Manning, Jr.
 11
                                              Attorney for Plaintiff
 12                                           Carmen John Perri
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28


                                                 1
                   NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
